The Attorney General has received your request for an opinion wherein you ask, in effect, the following question: May the funds set forth in S.B. 473, the Corporation Commissions Appropriation Bill, at page 862 in the 1978 Oklahoma Session Laws, in the amount of $200,000.00 be expended to employ outside independent firms to conduct audits for the Corporation Commission? Section 6. Contracts for independent analytical services is the provision in question and provides as follows: From the funds available to the Commission, to include the conservation funds of the State Treasury, an amount not to exceed $200,000.00 may be utilized by the Commission to contract for the independent analytical services, with expert testimony, of utility rate analysts, engineers, or such other professional and technical personnel as it deems necessary to carry out its responsibilities in rate case hearings involving public utilities.  The Appropriations Bill provides funds for purposes heretofore authorized by the Oklahoma Constitution, Article IX, Section 29 as construed by the Supreme Court of Oklahoma in State vs. Carter, 167 Okl. 32, 27 P.2d 617, 91 A.L.R. (1933).  The Constitutional provision is as follows: . . . It shall also ascertain the outstanding bonds, debentures and indebtedness, and the amount respectively, thereof, when issued and rate of interest when due, for what purpose issued, how used, to whom issued, to whom sold, and the price in cash, property, or labor, if any, received therefrom, what became of the proceeds, by whom the indebtedness is held, the amount purporting to be due thereon, the total indebtedness of the company, to whom due and his address, the credits due on it, the property on hand belonging to the railroad or other public service corporation, and the judicial or other sales of said road, its property or franchise, and the amounts purporting to have been paid, and in what manner paid therefore. The Commission shall also ascertain the amounts paid for salaries through the officers of the railroad, or other public services and the wages paid its employees. For the purpose of this section named, the Commission may employ experts to assist them when needed and from time to time, as the information required by this section is obtained, it shall communicate the same to the Attorney General by report, and file a duplicate thereof with the State Examiner and Public Inspector for public use and said information shall be printed, from time to time, in the annual report of the Commission. Emphasis supplied In Carter, supra, the Court defined experts to include accountants, engineers, clerks and stenographers necessary for the performance of the duties imposed by the provisions of this Constitutional section. Also, the Court went on to define the term "Public Service Corporation" by use of the Oklahoma Constitution, Article IX, Section 34
which provides as follows: . . . All transportation and transmission companies, all gas, electric light, heat, and power companies, and all persons authorized to exercise the right of imminent domain, or to use or occupy any right of way, street, alley, or public highway, whether alone, over or under the same, in a manner not permitted to the general public. . .  It is, therefore, the opinion of the Attorney General that your question be answered in the affirmative. The Commission may expend sums appropriated by the legislature to employ experts, for purposes of employing outside independent firms to conduct audits as authorized by law.  (RICHARD F. BERGER) (ksg)